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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

JERSEY MIKE’S FRANCHISE                        Civil Action No. 3:23-cv-03444-GC-TJB
SYSTEMS, INC.

               Plaintiff,

v.

AMERICAN ARBITRATION
ASSOCIATION, INC., OPHELIA
AUGUSTINE, and CECELIA LAHR

               Defendants.

            DECLARATION OF TIMOTHY COUGHLAN IN SUPPORT OF
            DEFENDANTS OPHELIA AUGUSTINE AND CECELIA LAHR’S
                MOTION TO DISMISS PLAINTIFF’S COMPLAINT

          I, Timothy Coughlan, Esq. hereby declare under penalty of perjury under the laws
of the United States the following:
          1.     I am a Director at the law firm of Maron Marvel Bradley Anderson & Tardy,
LLC and admitted to practice in this Court.          My firm represents Defendants Ophelia
Augustine and Cecelia Lahr in the above-captioned matter. As such, I am fully familiar with
the facts set forth herein.
          2.     Attached hereto as Exhibit A is a true and correct copy of the terms and
conditions present on Plaintiff’s website as of January 25, 2023. This is an identical copy of
the terms and conditions which were submitted to the American Arbitration Association to
initiate arbitration on or about that same date.
          3.     Plaintiff’s   URL      to     its       website   can   be   found     here:
https://www.jerseymikes.com
          4.     A link to the current Website Terms of Use can be found here:

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https://www.jerseymikes.com/terms-of-use. Upon information and belief sometime after
January 25, 2023, Plaintiff updated the Website Terms of Use on its website to this current
version. I have not engaged in a full comparison to identify all the changes, but one change
that is present is the change from the arbitration service provider AAA to JAMS. See the
section entitled “Mandatory Dispute Resolution for Registered Users.
         5.     Upon information and belief both Augustine and Lahr became registered users
by providing their cellular telephone numbers to Plaintiff at some time prior to the initiation
of their respective arbitrations.

Dated: August 17, 2023
       Jersey City, New Jersey


                                                MARON MARVEL BRADLEY
                                                ANDERSON & TARDY LLC
                                                BY: s/ Timothy Coughlan____________
                                                    Timothy Coughlan
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                                                    Attorneys for Defendants
                                                    Ophelia Augustine and Cecelia
                                                    Lahr




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